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38 COAH, LLC, Daibes Brothers, Inc., North River Mews
Associates, LLC, and Fred A. Daibes

BY:    PATRICK PAPALIA, ESQUIRE
       DEBRA S. ROSEN, ESQUIRE

                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY


BOROUGH OF EDGEWATER,
                                                        Civil Action No.: 2:14-CV-05060
                            Plaintiff,                  (ES-MAH)

vs.

WATERSIDE CONSTRUCTION, LLC; 38 COAH,                   ELECTRONICALLY FILED
LLC; DAIBES BROTHERS, INC.; NORTH RIVER
MEWS ASSOCIATES, LLC; FRED A. DAIBES;
TERMS ENVIRONMENTAL SERVICES, INC.;                       ANSWER OF DEFENDANTS,
ALUMINUM COMPANY OF AMERICA; A.P.                        WATERSIDE CONSTRUCTION,
NEW JERSEY, INC.; JOHN DOES 1-100; and ABC                LLC, 38 COAH, LLC, DAIBES
CORPORATIONS 1-100,                                     BROTHERS, INC., NORTH RIVER
                                                         MEWS ASSOCIATES, LLC AND
                            Defendants.                      FRED A. DAIBES TO
                                                              CROSSCLAIMS OF
and                                                     DEFENDANTS, ALCOA, INC. AND
                                                           ALCOA DOMESTIC LLC
WATERSIDE CONSTRUCTION, LLC; 38 COAH,
LLC, DAIBES BROTHERS, INC., NORTH RIVER
MEWS ASSOCIATES, LLC AND FRED A.
DAIBES,

              Defendants/Third-Party Plaintiffs,

vs.

NEGLIA ENGINEERING ASSOCIATES,

              Third-Party Defendants.



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       Defendants/Third-Party Plaintiffs, Waterside Construction, LLC, 38 COAH, LLC,

Daibes Brothers, Inc., North River Mews Associates, LLC and Fred A. Daibes (hereinafter

collectively “Waterside”) by way of Answer to the Crossclaims of Defendants, Alcoa, Inc. and

Alcoa Domestic, LLC, as successor in interest to A.P. New Jersey, Inc. (collectively "Alcoa") by

their counsel, Archer & Greiner, P.C., answer Alcoa's Crossclaims as follows:

                             JURISDICTION AND VENUE
       1.      The allegations of Paragraph 1 of the Crossclaims call for a legal conclusion and

therefore, no response thereto is required. To the extent that factual allegations as to Waterside

are made or intended to be made, said allegations are denied.

       2.      The allegations of Paragraph 2 of the Crossclaims call for a legal conclusion and

therefore, no response thereto is required. To the extent that factual allegations as to Waterside

are made or intended to be made, said allegations are denied.

       3.      The allegations of Paragraph 3 of the Crossclaims call for a legal conclusion and

therefore, no response thereto is required. To the extent that factual allegations as to Waterside

are made or intended to be made, Waterside admits only that it conducts business in the State of

New Jersey and any remaining factual allegations as to Waterside are denied.

       4.      The allegations of Paragraph 4 of the Crossclaims call for a legal conclusion, and

therefore, no response thereto is required. To the extent that factual allegations as to Waterside

are made or intended to be made, said allegations are denied.

                      CROSSCLAIMS FOR STATUTORY AND
                        COMMON LAW CONTRIBUTION
       5.      The allegations of Paragraph 5 of the Crossclaims are denied.




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                         CROSSCLAIMS FOR NEGLIGENCE
       6.      Waterside repeats and incorporates by reference its responses to Paragraphs 1

through 5 of the Crossclaims as if fully set forth herein in lieu of repetition.

       7.      The allegations of Paragraph 7 of the Crossclaims are denied.

       8.      The allegations of Paragraph 8 of the Crossclaims are denied.

       9.      The allegations of Paragraph 9 of the Crossclaims are denied.

       10.     The allegations of Paragraph 10 of the Crossclaims are denied.

       11.     The allegations of Paragraph 11 of the Crossclaims are denied.

                  CROSSCLAIM FOR BREACH OF CONTRACT
       12.     Waterside repeats and incorporates by reference its responses to Paragraphs 1

through 11 of the Crossclaims as if fully set forth herein in lieu of repetition.

       13.     Paragraph 13 of the Crossclaims make allegations as to the contents of a written

document which document speak for itself. To the extent that any factual allegations as to

Waterside’s alleged breach of contract are made, said allegations are denied.

       14.     Paragraph 14 of the Crossclaims make allegations as to the contents of a written

document which document speak for itself. To the extent that any factual allegations as to

Waterside’s alleged breach of contract are made, said allegations are denied.

       15.     Paragraph 15 of the Crossclaims make allegations as to the contents of a written

document which document speak for itself. To the extent that any factual allegations as to

Waterside's alleged breach of contract are made, said allegations are denied.

       16.     The allegations of Paragraph 16 of the Crossclaims are denied.

       17.     The allegations of Paragraph 17 of the Crossclaims are denied.




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                      CROSSCLAIM FOR INDEMNIFICATION
       18.     Waterside repeats and incorporates by reference its responses to Paragraphs 1

through 17 of the Crossclaims as if fully set forth herein in lieu of repetition.

       19.     Paragraph 19 of the Crossclaims make allegations as to the contents of a written

document which document speak for itself. To the extent that any factual allegations are made

or intended to be made as to Waterside, said allegations are denied.

       20.     Paragraph 20 of the Crossclaims make allegations as to the contents of a written

document which document speak for itself. To the extent that any factual allegations are made

or intended to be made as to Waterside, said allegations are denied.

       21.     Paragraph 21 of the Crossclaims make allegations as to the contents of a written

document which document speak for itself. To the extent that any factual allegations are made

or intended to be made as to Waterside, said allegations are denied.

       22.     Paragraph 22 of the Crossclaims make allegations as to the contents of a written

document which document speak for itself. To the extent that any factual allegations are made

or intended to be made as to Waterside, said allegations are denied.

       23.     Paragraph 23 of the Crossclaims make allegations as to the contents of a written

document which document speak for itself. To the extent that any factual allegations are made

or intended to be made as to Waterside, said allegations are denied.

       24.     The allegations of Paragraph 24 of the Crossclaims are denied.

       25.     The allegations of Paragraph 25 of the Crossclaims are denied.

       WHEREFORE, Waterside demands judgment against Alcoa dismissing the Crossclaims

in their entirety, with prejudice, and awarding costs of suit and attorneys fees and such other and

further relief as this Court deems equitable and just.




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                                   AFFIRMATIVE DEFENSES
                               FIRST AFFIRMATIVE DEFENSE

        The Crossclaims fail to state a claim upon which relief can be granted.

                              SECOND AFFIRMATIVE DEFENSE

        The Crossclaims are barred or subject to reduction by reason of Alcoa's own actions

and/or the actions of Plaintiff.

                               THIRD AFFIRMATIVE DEFENSE

        The Crossclaims are barred by Alcoa's own breach of contract.

                             FOURTH AFFIRMATIVE DEFENSE

        The Crossclaims are barred because Waterside was acting under and in accordance with

instructions received from Plaintiff and/or its agents.

                               FIFTH AFFIRMATIVE DEFENSE

        The Crossclaims are barred by the doctrines of unclean hands, waiver and estoppel.

                               SIXTH AFFIRMATIVE DEFENSE

        The Crossclaims are barred or subject to reduction by reason of failure to mitigate the

alleged damages.

                             SEVENTH AFFIRMATIVE DEFENSE

        The Crossclaims are barred or subject to reduction because the damages claimed include

costs that are not reasonable or necessary.

                              EIGHTH AFFIRMATIVE DEFENSE

        Alcoa's alleged damages have been caused solely by the acts of third parties over whom

Waterside had no control or right of control or by superseding or intervening conduct of others

outside of Waterside's control.




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                              NINTH AFFIRMATIVE DEFENSE

       The Crossclaims are barred by the actions of Plaintiff or others which prevented

Waterside from completing performance.

                              TENTH AFFIRMATIVE DEFENSE

       The Crossclaims are barred in whole or in part to the extent that the alleged costs incurred

are not consistent with the National Contingency Plan or otherwise are not recoverable under

CERCLA or the Spill Act.

                           ELEVENTH AFFIRMATIVE DEFENSE

       The costs allegedly incurred, or to be incurred, are not response costs recoverable from

Waterside pursuant to CERCLA.

                            TWELFTH AFFIRMATIVE DEFENSE

       Alcoa and/or Plaintiff are barred from relief under CERCLA and the Spill Act because its

own acts or omissions have proximally caused the conditions alleged in the First Amended

Complaint and in the Crossclaims and in the alternative, are in pari delicto with others.

                         THIRTEENTH AFFIRMATIVE DEFENSE

       The Crossclaims are barred by the terms of the contract between the parties in this matter.

                         FOURTEENTH AFFIRMATIVE DEFENSE

       The Crossclaims are barred or subject to reduction by Alcoa’s misrepresentations and/or

fraud in the inducement of contract.

                               FIFTEENTH AFFIRMATIVE DEFENSE

       Waterside hereby incorporates all affirmative and separate defenses which have been or

will be pleaded by any party in this action to the extent that these defenses are applicable to

Waterside as well as any additional applicable statutory or common law defenses and reserves

the right to amend this Answer to assert additional defenses.


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                           SIXTEENTH AFFIRMATIVE DEFENSE

        Waterside reserves the right to assert additional defenses that may be pertinent to

Plaintiff’s claims and to the Crossclaims when the precise nature of said claims is further

ascertained through discovery and based upon facts developed as this matter progresses.

                                                      ARCHER & GREINER,
                                                      A Professional Corporation
                                                      Attorneys for Waterside Construction, LLC,
                                                      38 COAH, LLC, Daibes Brothers, Inc.,
                                                       North River Mews Associates, LLC
                                                      and Fred A. Daibes


                                                      BY:    /s/ Debra S. Rosen
DATED: December 12, 2014                                     DEBRA S. ROSEN

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